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AO 472(Rev. 11/lb) Order of Detention Pending Trial


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                                      UNITED STATES DISTRICT COURT                                            CLE,^'•; ~,;" ::_: 5-iRICT
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                                                                   for the
                                                         Central District of California                             NOV - $ 202
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                   United States of America                                                               evENTRr";LUlSTRIC
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                                                                                                                            ~r_r~.~~~ ,
                                 v.
                  Fabian De La Cruz-Ortega                                   Case No.     8:21-mj-00753

                             Defendant


                                       ORDER OF DETENTION PENDING TRIAL

                                                      Part I -Eligibility for Detention

     Upon the

               ~ Motion ofthe Government attorney pursuant to 18 U.S.C. § 3142(fl(1), or
               L~J Motion ofthe Government or Court's own motion pursuant to 18 U.S.C. § 3142(fl(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(1), in addition to any other findings made at the hearing.

                            Part II -Findings of Fact and Law as to Presumptions under § 3142(e)

  ~ A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2)(previous vio[aror): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
        ~ (1)the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(fl(1):
             ~(a)a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(B)for which a m~imum term of imprisonment of 10 years or more is prescribed; or
             ~(b)an offense for which the maximum sentence is life imprisonment or death; or
             ~(c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
               (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508); or
             ~(d)any felony if such person has been convicted of two or more offenses described in subparagraphs
               (a)through (c)ofthis paragraph, or two or more State or local offenses that would have been offenses
                described in subparagraphs(a)through (c)of this paragraph if a circumstance giving rise to Federal
               jurisdiction had existed, or a combination of such offenses; or
             ~(e)any felony that is not otherwise a crime of violence but involves:
               (i) a minor victim;(ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
               (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
        ~ (2)the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
           § 3142(fl(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
           to Federal jurisdiction had existed; and
        ~ (3)the offense described in paragraph (2)above for which the defendant has been convicted was
           committed while the defendant was on release pending trial for a Federal, State, or local offense; and
        ~ (4)a period of not more than five years has elapsed since the date of conviction, or the release ofthe
           defendant from imprisonment, for the offense described in paragraph(2)above, whichever is later.


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   ~ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3)(narcorics,(rearm, other offenses): There 1s a
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
         ~ (1)an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
            Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act(21
            U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508);
         ~ (2)an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
         Q (3)an offense listed in l 8 U.S.C. § 2332b(g)(5)(B)for which a ma~cimum term of imprisonment of 10 years
            or more is prescribed;
         ~ (4)an offense under Chapter 77 of Title 18, U.S.C.(18 U.S.C. §§ 1581-1597)for which a ma~cimum term of
            imprisonment of 20 years or more is prescribed; or
         ~ (5)an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
            2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
            2260, 2421, 2422, 2423, or 2425.

   ~ C. Conclusions Regarding Applicability of Any Presumption Established Above

           ~ The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
               ordered on that basis. (port ~~1 need nor be ~orapleted.)

                1:

           ~ The defendant has presented evidence sufficient to rebut the presumption, but after considering the
             presumption and the other factors discussed below, detention is warranted.

                                  Part III -Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   ~ By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
     the safety of any other person and the community.

   I~ By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
      the defendant's appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

      ~    Weight of evidence against the defendant is strong
      ~    Subject to lengthy period of incarceration if convicted
      Q    Prior criminal history
      ~    Participation in criminal activity while on probation, parole, or supervision
      Q    History of violence or use of weapons
      ~    History of alcohol or substance abuse
      Q    Lack of stable employment
      ~    Lack of stable residence
      ~    Lack of financially responsible sureties


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        h~ Lack of significant community or family ties to this district
        ~
        h Significant family or other ties outside the United States
        ~ Lack of legal status in the United States
        ~ Subject to removal or deportation after serving any period of incarceration
        ~ Prior failure to appear in court as ordered
        ~ Prior attempts)to evade law enforcement
        ~ Use of aliases) or false documents
        ~ Background information unknown or unverified
        ~ Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:




                                                 Part IV -Directions Regarding Detention

The defendant is remanded to the custody ofthe Attorney General or to the Attorney General's designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a Unjite~tes Marsha  l l~jthe purpose of an appearance in
connection with a court proceeding.                                ~                 ~//          ~~

Date:        ~1_ !J         L~




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